         Case 3:23-cv-00187-KGB Document 11 Filed 10/23/23 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               NORTHERN DIVISION

CHARLES COLLARD                                                                   PLAINTIFF

v.                               Case No. 3:23-cv-00187-KGB

NEW YORK LIFE INSURANCE
COMPANY; LIFE INSURANCE
COMPANY OF NORTH AMERICA; and
MAGNITUDE 7 METALS LLC                                                         DEFENDANTS

                                            ORDER

       Before the Court is plaintiff Charles Collard’s stipulation of dismissal (Dkt. No. 5).

Plaintiff stipulates to the dismissal of New York Life Insurance Company and Magnitude 7 Metals,

LLC (Id.).    The stipulation accords with the terms of Federal Rule of Civil Procedure

41(a)(1)(A)(i).

       For good cause shown, the Court adopts the stipulation of dismissal. All claims against

defendants New York Life Insurance Company and Magnitude 7 Metals, LLC are dismissed

without prejudice. Mr. Collard’s claims against remaining defendant Life Insurance Company of

North America remain pending.

       It is so ordered this 23rd day of October, 2023.

                                                     ________________________________
                                                     Kristine G. Baker
                                                     United States District Judge
